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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                           )
                                              )
                                              )          CIVIL ACTION NO.
                                              )
               Plaintiff;                     )        15-CV-6119 (AJN)(JLC)
                                              )
       v.                                     )
                                              )
                                              )    PLAINTIFF’S FIRST RESPONSES
Dennis Mehiel, an individual Robert Serpico, )
                                                        and OBJECTIONS to
an individual, The Battery Park City          )     REAL ESTATE DEFENDANTS’
Authority, a New York State authority,        )
Howard Milstein, an individual, Steven Rossi, )      REQUEST for DOCUMENTS
an individual, Janet Martin, an individual,   )
                                              )
Milford Management, a New York                )
corporation, and Mariners Cove Site B         )
Associates, a New York corporation.           )
                                              )
               Defendants.
                                              )
                                              )
                                               )




                                                     Steven Greer, pro se
                                                     4674 Tatersall Court
                                                     Columbus, Ohio 43230
                                                     (212) 945-7252
                                                     steve@batterypark.tv




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                PLAINTIFF’S FIRST RESPONSES and OBJECTIONS to
              REAL ESTATE DEFENDANTS’ REQUEST for DOCUMENTS



TO: Defendants Howard Milstein, Steven Rossi, Janet Martin, Milford Management, and

Mariners Cove Site B Associates (“Real Estate Defendants”), by and through their attorney of

record, Deborah Riegel and Isaac Tilton of the form Rosenberg & Estis, P.C. located at 733 3rd

Ave, New York, NY 10017.

       Plaintiff Steven Greer (“Plaintiff”) serves this set of Objections and Responses to

Defendants’ First Set of Requests for Production under Federal Rule of Civil Procedure 34.



                                GENERAL OBJECTIONS

       Plaintiff objects to each Request: (1) insofar as it calls for the production of documents

not in Plaintiff’s possession, custody, or control; (2) insofar as it calls for the production of

documents that were prepared for or in anticipation of litigation, constitute attorney work

product, contain attorney-client communications, or are otherwise privileged; (3) insofar as it

calls for the production of documents which are publicly available or otherwise equally available

and/or uniquely available or equally available from third parties; (4) insofar as it calls for the

production of documents that do not specifically refer to the events which are the subject matter

of this litigation; and (5) insofar as it calls for the production of documents which are neither

relevant to the subject matter of this litigation nor reasonably calculated to lead to the discovery

of admissible evidence.

       The inadvertent production or disclosure of any privileged documents or information

shall not constitute or be deemed to be a waiver of any applicable privilege with respect to such

document or information (or the contents or subject matter thereof) or with respect to any other




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such document or discovery now or hereafter requested or provided. Plaintiff reserves the right

not to produce documents that are in part protected by privilege, except on a redacted basis, and

to require the return of any document (and all copies thereof) inadvertently produced. Plaintiff

likewise does not waive the right to object, on any and all grounds, to (1) the evidentiary use of

documents produced in response to these requests; and (2) discovery requests relating to those

documents.

       Plaintiff submits these responses and objections without conceding the relevancy or

materiality of the subject matter of any request or of any document, or that any responsive

materials exist.

       Plaintiff’s responses and objections are not intended to be, and shall not be construed as,

agreement with Plaintiff’s characterization of any facts, circumstances, or legal obligations.

Plaintiff reserves the right to contest any such characterization as inaccurate. Plaintiff also

objects to the Requests to the extent they contain any express or implied assumptions of fact or

law concerning matters at issue in this litigation.

       The responses and objections contained herein are made on the basis of information now

known to Plaintiff and are made without waiving any further objections to or admitting the

relevancy or materiality of any of the information requested. Plaintiff’s investigation, discovery

and preparation for proceedings are continuing and all answers are given without prejudice to

Plaintiff’s right to introduce or object to the discovery of any documents, facts or information

discovered after the date hereof.

       Plaintiff will provide its responses based on terms as they are commonly understood, and

consistent with the Federal Rules of Civil Procedure. Plaintiff objects to and will refrain from




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extending or modifying any words employed in the requests to comport with expanded

definitions or instructions.


   OBJECTIONS AND RESPONSES TO REQUEST FOR PRODUCTION


REQUEST No. 1:

All Documents and Communications between You and any or all of the BPCA Defendants,
including but not limited to employees of BPCA not named as Defendants.

       RESPONSE:
       Plaintiff objects to Request for Production No. 1 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….”1.

       In addition, Plaintiff objects to No. 1 on the grounds that the time period from is
       overly broad given that Plaintiff has lived in the apartment for 14-years. If the
       date range is from 2010 to current, that too is overly broad and unlikely to lead to
       admissible evidence.

       Due to the vastness of this request, Plaintiff does not know the nature of the
       documents being withheld, if any.

       Plaintiff also objects to No. 1 on the grounds that it is egregiously vague and
       ambiguous. Is Howard Milstein an employee, for example. Are fired employees to
       be part of this request, etc?


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         “The Court observes preliminarily that all of Greer’s document requests begin with the phrase
       “[a]ll documents, communications, and correspondence which support, evidence, relate or
       otherwise pertain to . . . .” “Blanket requests of this kind are plainly overbroad and
       impermissible.” Henry v. Morgan’s Hotel Grp., Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL
       303114, at *2 (S.D.N.Y. Jan. 25, 2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No.
       13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a
       “request for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life Ins. Co.,
       No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10, 2011) (finding that “a
       request for ‘any and all documents’ relating to a particular subject is overbroad and amounts to
       little more than a fishing expedition”); Badr v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007
       WL 2904210, at *3 (D. Conn. Sept. 28, 2007) (finding request for “any and all” documents
       “overly broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an attorney, they
       should be both reasonable and pragmatic in their pursuit of documents in this case.”




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REQUEST No. 2:
All Documents and Communications between You and any or all of the Landlord Defendants,
including but not limited to employees of MCSBA and Milford Management not named as
Defendants, including but not limited to doormen, porters, and security guards employed at the
Building.

       RESPONSE:
       Plaintiff objects to Request for Production No. 2 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….” (see footnote 1).

       In addition, Plaintiff objects to No. 2 on the grounds that the time period from is
       overly broad given that Plaintiff has lived in the apartment for 14-years. If the
       date range is from 2010 to current, that too is overly broad and unlikely to lead to
       admissible evidence.

       Request No. 2 is also redundant to No. 1.

       Due to the vastness of this request, Plaintiff does not know the nature of the
       documents being withheld, if any.

       However, Plaintiff did find the following confidential YouTube videos:

       Renovations on 39th floor
       https://youtu.be/eQ1Z76Ok2xY

       Doorman refusing to call fire department
       https://youtu.be/sx-JRVZ460w

       Gus hanging up on me about handling of fire
       https://youtu.be/ksW5x4SnmRA

       Kitchen sink leak
       https://youtu.be/9HyU7uk_d8g

       Cockroaches
       https://youtu.be/Z3GmP_-CjTo

       Bad kitchen sink and counter
       https://youtu.be/pBMW3c1zp1c

       Broken cabinet
       https://youtu.be/EXkxfmt345A




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      Lorain hanging up on me discussing erroneous storage unit fees
      https://youtu.be/7tLk25CPxjo


REQUEST No. 3:
All Documents and Communications between You and any other Persons supporting the first
cause of action in the Complaint.

      RESPONSE:

      Plaintiff objects to Request for Production No. 3 on the grounds that it is overly
      broad and unduly burdensome because, among other reasons, it begins with the
      words, “All documents….” (see footnote 1).

      Plaintiff also objects to No. 3 on the grounds that it is egregiously vague and
      ambiguous.

      Due to the vastness of this request, Plaintiff does not know the nature of the
      documents being withheld, if any.


REQUEST No. 4:
All Documents and Communications between You and Vince McGowan.

      RESPONSE:

      Plaintiff objects to Request for Production No. 4 on the grounds that it is overly
      broad and unduly burdensome because, among other reasons, it begins with the
      words, “All documents….” (see footnote 1).

      In addition, Plaintiff objects on the grounds that the only relevant producible
      document relating to Mr. McGowan was the January 12, 2014 email, that has
      been already disclosed in the complaints, in which Mr. McGowan tipped off
      Plaintiff that he knew of Plaintiff’s apartment lease not being renewed even
      before Plaintiff knew, “It is good to see that you appreciate what we have on
      the West Side, Hope you can stay." A subsequent voice phone call, not
      recorded, in which Mr. McGowan clarified what he meant in the email, is not
      producible documentation.

      Moreover, Plaintiff is a journalist and information of news sources is privileged
      and protected. In the Reporters Committee for the Freedom of the press
      (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):




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      “First Amendment protection. The U.S. Supreme Court last considered a
      constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
      U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
      opinion for the Court, holding that the First Amendment does not protect a
      journalist who has actually witnessed criminal activity from revealing his or her
      information to a grand jury. However a concurring opinion by Justice Lewis
      Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
      privilege for reporters.

      State constitutions, common law and court rules. Many states have recognized a
      reporter's privilege based on state law. For example, New York's highest court
      recognized a qualified reporter's privilege under its own state constitution,
      protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
      Construction Inc., 71 N.Y.S.2d 521 (1988)).”

REQUEST No. 5:
All Documents and Communications provided to You by Vince McGowan Concerning the first
cause of action in the Complaint.

      RESPONSE:

      Plaintiff objects to Request for Production No. 5 on the grounds that it is overly
      broad and unduly burdensome because, among other reasons, it begins with the
      words, “All documents….” (see footnote 1).

      In addition, the only relevant producible document relating to Mr. McGowan was
      the January 12, 2014 email, that has been already disclosed in the complaints, in
      which Mr. McGowan tipped off Plaintiff that he knew of Plaintiff’s apartment
      lease not being renewed even before Plaintiff knew, “It is good to see that you
      appreciate what we have on the West Side, Hope you can stay." A subsequent
      voice phone call, not recorded, in which Mr. McGowan clarified what he meant in
      the email, is not producible documentation.

      Moreover, Plaintiff is a journalist and information of news sources is privileged
      and protected. In the Reporters Committee for the Freedom of the press
      (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

      “First Amendment protection. The U.S. Supreme Court last considered a
      constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
      U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
      opinion for the Court, holding that the First Amendment does not protect a
      journalist who has actually witnessed criminal activity from revealing his or her
      information to a grand jury. However a concurring opinion by Justice Lewis
      Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
      privilege for reporters.



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      State constitutions, common law and court rules. Many states have recognized a
      reporter's privilege based on state law. For example, New York's highest court
      recognized a qualified reporter's privilege under its own state constitution,
      protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
      Construction Inc., 71 N.Y.S.2d 521 (1988)).”

      Plaintiff also objects because this question is redundant to No. 4.

      No documents that are not public, per the above, are being withheld.

REQUEST No. 6:
Documents and Communications evidencing Vince McGowan's current address, phone number,
and email address.

      RESPONSE:

      Plaintiff has no such documents. The BPCA likely does have them.

REQUEST No. 7:
All Documents and Communications between You and Kirk Swanson.

      RESPONSE:

      Plaintiff objects to Request for Production No. 7 on the grounds that it is overly
      broad and unduly burdensome because, among other reasons, it begins with the
      words, “All documents….” (see footnote 1).

      In addition, no producible documents relating to Mr. Swanson exist. Only non-recorded
      phone conversations have been the source of information used by Plaintiff as evidence in
      the complaints.

      Moreover, Plaintiff is a journalist and information of news sources is privileged
      and protected. In the Reporters Committee for the Freedom of the press
      (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

      “First Amendment protection. The U.S. Supreme Court last considered a
      constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
      U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
      opinion for the Court, holding that the First Amendment does not protect a
      journalist who has actually witnessed criminal activity from revealing his or her




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      information to a grand jury. However a concurring opinion by Justice Lewis
      Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
      privilege for reporters.

      State constitutions, common law and court rules. Many states have recognized a
      reporter's privilege based on state law. For example, New York's highest court recognized
      a qualified reporter's privilege under its own state constitution, protecting both
      confidential and non-confidential materials. (O'Neill v. Oakgrove Construction Inc., 71
      N.Y.S.2d 521 (1988)).”


REQUEST No. 8:
All Documents and Communications provided to You by Kirk Swanson Concerning the first
cause of action in the Complaint.

      RESPONSE:

      Plaintiff objects to Request for Production No. 8 on the grounds that it is overly
      broad and unduly burdensome because, among other reasons, it begins with the
      words, “All documents….” (see footnote 1).

      In addition, no producible documents relating to Mr. Swanson exist. Non-recorded phone
      conversations have been the source of information used by Plaintiff as evidence in the
      complaints.

      Moreover, Plaintiff is a journalist and information of news sources is privileged
      and protected. In the Reporters Committee for the Freedom of the press
      (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

      “First Amendment protection. The U.S. Supreme Court last considered a
      constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
      U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
      opinion for the Court, holding that the First Amendment does not protect a
      journalist who has actually witnessed criminal activity from revealing his or her
      information to a grand jury. However a concurring opinion by Justice Lewis
      Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
      privilege for reporters.

      State constitutions, common law and court rules. Many states have recognized a
      reporter's privilege based on state law. For example, New York's highest court
      recognized a qualified reporter's privilege under its own state constitution,
      protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
      Construction Inc., 71 N.Y.S.2d 521 (1988)).”

      Plaintiff also objects because this question is redundant to No. 7.



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REQUEST No. 9:
Documents and Communications evidencing Kirk Swanson's current address, phone number,
and email address.

       RESPONSE:

       Plaintiff objects to document request No. 9 because it is public information found
       in federal court filings of Swanson v BPCA 15-cv-6938; a case references in this
       instant matter complaint, which you should have become familiar with by now.

REQUEST No. 10:
Identify any and all witnesses that have communicated information to You that supports Your
first cause of action in the Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 10 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “Any and All….” (see footnote 1).

       Plaintiff also objects to No. 10 because it does not request a document. This
       should be an interrogatory.

       Plaintiff also objects to No. 10 because it is information previously supplied in
       Plaintiff’s initial disclosures.




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REQUEST No. 11:
All Documents and Communications Concerning or supporting Your allegation that "Plaintiff
was paying his rent in full," as set forth in paragraph 35 of the Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 11 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….” (see footnote 1).

       Plaintiff also objects to No. 11 because the documents requested are already in the
       possession of the real estate defendants in the form of check images and payment
       logs.

       CONFIDENTIAL- However, Plaintiff will agree, nevertheless, to provide an
       incomplete list of check scan images of Plaintiff’s checks, which were cashed by
       defendants, which were all dated on time (See Exhibit A). Other check images are
       not in Plaintiff’s possession. The check images are not redacted and are very
       sensitive material that cannot be made public without redacting.

       In addition, it is well known by thousands of renters of Howard Milstein
       apartments that his Milford Management uses an arcane, antiquated, error-prone
       accounting system. The payment logs that the defendants plan to use as evidence
       that Plaintiff was late in rent is an erroneous bit of incompetent accounting.

       CONFIDENTIAL- The Milford accounting was so sloppy with Plaintiff’s
       account that he had to forfeit his storage unit simply to prevent further
       harassment. In several forensic accounting episodes over many years, Plaintiff
       proved that Milford Management was indeed the party with incorrect account
       (See Exhibit C).

       CONFIDENTIAL- This YouTube audio of call between Plaintiff and Loraine
       Doyle about ongoing accounting errors
       https://youtu.be/7tLk25CPxjo




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REQUEST No. 12:
All Documents and Communications Concerning Your payment of rent pursuant to the Lease,
including but not limited to cancelled checks and bank statements.

       RESPONSE:

       Plaintiff objects to Request for Production No. 12 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….” (see footnote 1).

       Plaintiff also objects to No. 12 because the documents requested are already in the
       possession of the real estate defendants in the form of check images and payment
       logs.

       Plaintiff also objects to No. 12 because it is redundant to No. 11.

REQUEST No. 13:
All Documents and Communications relating to any rent demands or other demands or requests
for the payment of past-due rent, whether written or oral, served upon, transmitted to or
otherwise made to You, with respect to the Premises.

       RESPONSE:

       Plaintiff objects to Request for Production No. 13 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….” (see footnote 1).

       Plaintiff also objects to No. 13 because the documents requested are already, or
       should be, in the possession of the real estate defendants, if they exist at all.


REQUEST No. 14:
All Documents and Communications evidencing that BPCA Defendants conspired with Landlord
Defendants to cause Your eviction from the Premises.

       RESPONSE:

       Plaintiff objects to Request for Production No. 14 on the grounds that it is overly
       broad and unduly burdensome because, among other reasons, it begins with the
       words, “All documents….” (see footnote 1).




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REQUEST No. 15:
All Documents and Communications evidencing that Your eviction "was clearly retaliation for
[Your] news reporting," as set forth in paragraph 35 of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 15 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, the lack of the existence of documents sent from the defendants to Plaintiff
indicating that he was late in payment, or the source of complaints by other tenants, is
more important than the existence of documents. Plaintiff is unaware of any documents.

There does exist some video of Plaintiff entering the office of Loraine Doyle, and of a
subsequent office visit that was met by a security guard, which can be provided if
defendants provide a thumb-drive or some other form of computer memory.

The 2013 lease, by renewing which the defendants de facto acknowledged that Plaintiff
was not late in payment or the cause of trouble worthy of eviction, is already in the
possession of the defendants.

REQUEST No. 16:
All Documents and Communications Concerning articles, "blog posts," and/or other content
published on the website www.batterypark.tv, and/or published in any other websites or
publications, Concerning Defendants.

       RESPONSE:

Plaintiff objects to Request for Production No. 16 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, this is publicly available information that the defendants can find by using
the search bar on BatteryPark.TV. If the defendants deliver a specific series of requests
for password-protected stories, Plaintiff will unlock those stories posted on
BatteryPark.TV.




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REQUEST No. 17:
All Documents and Communications Concerning articles, "blog posts," and/or other content
published on the website www.batterypark.tv, and/or any other websites or publications that
allegedly constitute "speech protected under the First Amendment," as set forth in paragraph 111
of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 17 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff objects to No. 17 on the grounds that all of the content on news site
BatteryPark.TV is considered prima facie to be protected by the First Amendment.
Therefore, the request is not likely to produce relevant information.

REQUEST No. 18:
All Documents and Communications Concerning Your alleged damages that resulted from the
allegations in the first cause of action of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 18 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, the damages calculus is detailed in Plaintiff’s initial disclosures. Anything
more than that requires a time-consuming and expensive accounting process to retrieve
receipts for moving costs, hotels, legal briefs, travel, etc. Plaintiff is unable to produce
these documents at this stage because they do not exist.




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REQUEST No. 19:
All Documents and Communications Concerning Your alleged compensatory damages that
resulted from the allegations in the first cause of action of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 19 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, this request is redundant to No. 18.

REQUEST No. 20:
All Documents and Communications Concerning Your economic damages, as set forth in
paragraph 2 of the "Injuries" section of the Complaint on page 33 of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 20 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, this request is redundant to No. 18 and No. 19.

REQUEST No. 21:
All Documents and Communications evidencing that You were unable to procure an apartment
in New York City, including but not limited to applications You submitted for residential
occupancy of any apartment or other premises.

       RESPONSE:

Plaintiff objects to Request for Production No. 21 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff has no such documents since no formal lease applications were made, given
that the high financial requirements (e.g. an income of 45-times the monthly rent, as with the
building at 41 River Terrace, etc) made it obvious to Plaintiff that he would not qualify. The real
estate defendants, being in the industry, know very well what the current standards and
requirements are to be eligible to rent in Lower Manhattan.




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REQUEST No. 22:
All Documents and Communications Concerning any stays in any hotel, motel or similar lodging
following Your eviction from the Premises.

       RESPONSE:

Plaintiff objects to Request for Production No. 22 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, the damages calculus is detailed in Plaintiff’s initial disclosures. Anything
more than that requires a time-consuming and expensive accounting process to retrieve
receipts for moving costs, hotels, legal briefs, travel, etc. Plaintiff is unable to produce
these documents at this stage because they do not exist.

CONFIDENTIAL- However, Plaintiff does have readily available a few receipts, as
follows (Exhibit B):



REQUEST No. 23:
All Documents and Communications Concerning Your damages related to the "undue
embarrassment, humiliation, mental distress, anxiety, and depression" You allegedly suffered, as
set forth in paragraph 6 of the "Injuries" section of the Complaint on page 34 of the Complaint
("Medical Damages").

       RESPONSE:

Plaintiff objects to Request for Production No. 23 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects in principal on the grounds that medical records are privileged. If
they do exist, they are in the form of electronic and printed records held by the doctor.

In addition, no such medical documents yet exist.




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REQUEST No. 24:
All Documents and Communications Concerning Your medical records Concerning any
treatment You received in the past or are currently receiving Concerning Your Medical
Damages.

       RESPONSE:

Plaintiff objects to Request for Production No. 24 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects in principal on the grounds that medical records are privileged. If
they do exist, they are in the form of electronic and printed records held by the doctor.

In addition, no such medical documents yet exist.

REQUEST No. 25:
All Documents and Communications Concerning prescriptions for medications You currently
take or previously took Concerning Your Medical Damages, including but not limited to
medications You currently take or previously took for treatment of Your Medical Damages.

       RESPONSE:

Plaintiff objects to Request for Production No. 25 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects in principal on the grounds that medical records are privileged. If
they do exist, they are in the form of electronic and printed records held by the doctor.

In addition, no such medical documents yet exist.




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REQUEST No. 26:

All Documents and Communications relating to receipts for medical expenses You incurred
Concerning Your Medical Damages.

       RESPONSE:

Plaintiff objects to Request for Production No. 26 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects in principal on the grounds that medical records are privileged. If
they do exist, they are in the form of electronic and printed records held by the doctor.

In addition, no such medical documents yet exist.


REQUEST No. 27:
All Documents and Communications relating to correspondence from any doctors treating Your
Medical Damages.

       RESPONSE:

Plaintiff objects to Request for Production No. 27 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects in principal on the grounds that medical records are privileged. If
they do exist, they are in the form of electronic and printed records held by the doctor.

In addition, no such medical documents yet exist.




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REQUEST No. 28:
Duly executed and acknowledged written HIPAA compliant authorizations to each and every
one of Your physicians treating any and all conditions Concerning Your Medical Damages in the
form annexed hereto, permitting all parties to obtain and make copies of all medical records
referred to in Paragraphs 23 through 27 above.

       RESPONSE:

Plaintiff objects in principal on the grounds that medical records are privileged. However,
no such documents exist.


REQUEST No. 29:
All Documents and Communications Concerning any disability insurance maintained by You or
for Your benefit, including, without limitation, copies of any policies, policy renewals, claims
and payments made thereunder Concerning Your Medical Damages.

       RESPONSE:

Plaintiff objects to Request for Production No. 29 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents exist.




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REQUEST No. 30:
All Documents and Communications Concerning the attorneys' fees, costs, and expenses You
seek to recover in this action as set for on page 36 of the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 30 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents exist. However, Plaintiff reserves the right to employ outside
counsel as advisory help and then seek legal fees reimbursement after trial. (Blazy v. Tenet, 194
F.3d 90, 92 (D.C. Cir. 1999) (“pro se status does not by itself preclude the recovery of fees for
consultations with outside counsel”). At least one appellate court has held that the pro se attorney
litigant must demonstrate a “genuine attorney–client relationship” with outside counsel.
Kooritzky v. Herman, 178 F.3d 1315, 1323–24 (D.C. Cir. 1999).
Burka, 142 F.3d at 1291 (no attorney–client relationship).)


REQUEST No. 31:
All Documents and Communications Concerning the allegation that the sum of the alleged
reduction in value to www.batterypark.tv allegedly caused by Defendants "ranges from $7
Million to $100 Million," as set forth in the Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 31 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff does not yet have any other documents on this other than what was
listed in the initial disclosure.




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REQUEST No. 32:
All Documents and Communications Concerning revenue generated by www.batterypark.tv and
any other "media companies" owned in whole or in part by Plaintiff.

       RESPONSE:

Plaintiff objects to Request for Production No. 32 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff objects in principal on the grounds that the request is for privileged
trade secrets. However, no such documents exist.

REQUEST No. 33:
All Documents and Communications Concerning the "website analytics" of www.batterypark.tv
and/or any other "media companies" owned in whole or in part by Plaintiff, including but not
limited to the number of "unique page views" received by www.batterypark.tv and/or any other
"media companies" owned in whole or in part by Plaintiff.

       RESPONSE:

Plaintiff objects to Request for Production No. 33 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

       Plaintiff also objects to Request for Production No. 33 on the grounds that it is
       privileged trade-secret information on raw viewership data that are only known to
       Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

       •      information, including a formula, pattern, compilation, program, device,
       method, technique, or process,
       •      that derives independent economic value, actual or potential, from not
       being generally known to or readily ascertainable through appropriate means by
       other persons who might obtain economic value from its disclosure or use; and
       •      is the subject of efforts that are reasonable under the circumstances to
       maintain its secrecy.

       According to US-CERT, the principle of Principle of Least Privilege applies:
       “Every program and every user of the system should operate using the least set of
       privileges necessary to complete the job. Primarily, this principle limits the
       damage that can result from an accident or error. It also reduces the number of
       potential interactions among privileged programs to the minimum for correct




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       operation, so that unintentional, unwanted, or improper uses of privilege are less
       likely to occur. “

       Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
       6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
       BatteryPark.TV prohibit the release of information about users and viewers of
       BatteryPark.TV.

       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.

REQUEST No. 34:
All Documents and Communications Concerning the allegation that the value of the reputation
damages You allegedly suffered are $20,000,000, as set forth in the Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 34 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents exist.

REQUEST No. 35:
All Documents and Communications Concerning the allegation that the cost of moving out of the
Premises was $50,000, as set forth in the Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 35 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents yet exist. A time-consuming and expensive accounting
process to retrieve receipts for moving costs, hotels, legal briefs, travel, etc has not been
created at this stage. However, see confidential Exhibit B for an incomplete list on
receipts.




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REQUEST No. 36:

All Documents and Communications Concerning the allegation that Your damages for "mental
anguish" are $1,000,000, as set forth in the Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 36 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents exist.

REQUEST No. 37:
All Documents and Communications Concerning the allegation that damages related to Your
"[l]oss of enjoyment of a NYC apartment" are $1,000,000, as set forth in the Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 37 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, no such documents exist.


REQUEST No. 38:
Your federal, state and local income tax returns.

       RESPONSE:

Plaintiff objects in principal to No. 38 on the grounds that the request is for privileged
trade secrets. However, no such documents exist in the possession of Plaintiff.




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REQUEST No. 39:
Your Internal Revenue Service Forms W-2 and/or 1099.

       RESPONSE:

Plaintiff objects in principal to request No. 39 on the grounds that the request is for
privileged trade secrets. However, no such documents exist in the possession of Plaintiff.


REQUEST No. 40:
All federal, state and local income tax returns Concerning Your practice of medicine, including
but not limited to any and all medical practices in which You practiced medicine, regardless of
whether said medical practices is owned by You and/or other person(s).

       RESPONSE:

Plaintiff objects to Request for Production No. 40 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff objects in principal to request No. 40 on the grounds that it is
irrelevant and unlikely to lead to admissible information since the damages to Plaintiff’s
medical business is based upon comparable medical practices in the area, not Plaintiff’s
own negligible revenue.

In addition, Plaintiff objects in principal to request No. 40 on the grounds that the request
is for privileged trade secrets. However, no such documents exist in the possession of
Plaintiff.

REQUEST No. 41:
All Documents and Communications Concerning income and/or expense records Concerning
Your practice of medicine.

       RESPONSE:

Plaintiff objects to Request for Production No. 41 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff objects in principal to request No. 41 on the grounds that it is
irrelevant and unlikely to lead to admissible information since the damages to Plaintiff’s




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medical business is based upon comparable medical practices in the area, not Plaintiff’s
own revenue.

In addition, Plaintiff objects in principal to request No. 41 on the grounds that the request
is for privileged trade secrets. The documents withheld are of the nature of banking
statements.

REQUEST No. 42:
All Documents and Communications Concerning the Lease, including, without limitation, fully
executed copies of the Lease and any renewals thereof.

       RESPONSE:

Plaintiff objects to Request for Production No. 42 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

In addition, Plaintiff objects to No. 42 on the grounds that it seeks documents that are
already in the possession of the defendants as well as publicly available in the briefs filed
in this case.

REQUEST No. 43:
Copies of all photographs and/or videos, whether the original is in digital or non-digital format,
that You intend to attempt to introduce into evidence at trial.

       RESPONSE:

Plaintiff objects to Request for Production No. 43 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “all
photographs and/or videos ….” (see footnote 1).

There does exist some video of Plaintiff entering the office of Loraine Doyle, and of a
subsequent office visit met with a security guard, that can be provided if defendants
provide thumb drive or some other form of computer memory.

In addition, this YouTube of Real Estate defendant employee Gus Ouranitsas sent to attend a
Community Board 1 meeting to oppose the DOT plans:
https://youtu.be/FLL6iEiD5MU




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REQUEST No. 44:
Copies of all Documents and Communications You refer to in Your Initial Disclosures.

       RESPONSE:

Plaintiff objects to Request for Production No. 44 on the grounds that it is overly broad
and unduly burdensome because, among other reasons, it begins with the words, “All
documents….” (see footnote 1).

Plaintiff also objects to No. 44 on the grounds that it is egregiously vague and
ambiguous.

REQUEST No. 45:
All other documents not specifically requested above which are relevant to the first cause of
action in the Complaint.

       RESPONSE:

Plaintiff objects to Request for Production No. 45 on the grounds that it is overly broad and
unduly burdensome because, among other reasons, it begins with the words, “All documents….”
(see footnote 1).

Plaintiff also objects to No. 45 on the grounds that it is egregiously vague and ambiguous.




Dated: New York, New York
February 16, 2017
                                              Sincerely

                                              _____________________________
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                                              Columbus, Ohio 43230
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To: The Real Estate Defendants’ lawyers of Rosenberg & Estis




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